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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


COUNCIL ON AMERICAN-ISLAMIC
RELATIONS ACTION NETWORK, INC., et al.

                Plaintiffs,

       v.
                                                           Case No.: 1:09-cv-02030-CKK
PAUL DAVID GAUBATZ, et al.

                Defendants



      PLAINTIFFS’ RESPONSE TO DEFENDANT GAUBATZ’ EXPLANATION
                      (Per Minute Order of July 24, 2018)


   1. Plaintiffs take no position in response to Defendant Gaubatz’ explanation regarding

      deadlines for supplemental briefing for motions in limine as ordered by this Court on

      March 29, 2018.

   2. Attorney Gill received a phone call from Attorney Yerushalmi requesting for an

      extension to provide supplemental briefings per this Court’s order to which Attorney Gill

      agreed.

   3. Attorney Gill did not have any conversation with Attorney Horowitz regarding an

      extension.

DATED: August 8, 2018

                                           Respectfully submitted,

                                                          /S/ Faisal Gill
                                           Faisal Gill (DC Bar No 497312)
                                           Gill Law Firm
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                                              Counsel for Plaintiff




                                  CERTIFICATE OF SERVICE

I hereby certify that on August 8, 2018, I filed the foregoing Response to Defendant Gaubatz
Explanation through the Court’s CM/ECF system. Notice of this filing will be sent to all parties
by operation of the Court's electronic filing system or by mail to anyone unable to accept electronic
filing as indicated on the Notice of Electronic Filing. Parties may access this filing through the
Court's CM/ECF System.


                                                              /S/ Faisal Gill
                                              Faisal Gill




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